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                         EXHIBIT E
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 1   Law Office of Adam Pennella
     Adam Pennella, State Bar No. 246260
 2   717 Washington Street
     Oakland, CA 94607
 3   Phone (510) 451-4600
     Fax (510) 451-3002
 4
     Counsel for Defendant
 5   JESSIE RUSH

 6
                                UNITED STATES DISTRICT COURT
 7                             NOTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
 8
     UNITED STATES OF AMERICA,                               Case No.: CR 21-0121 JD
 9
                  Plaintiff,
                                                             DECLARATION OF JORDAN
10                                                           SCHAER IN SUPPORT OF JESSIE
           vs.                                               RUSH’S SENTENCING
11                                                           MEMORANDUM
     JESSIE RUSH,
12
                  Defendant
                                                             Honorable James Donato
13

14
           I, Jordan Schaer, hereby declare the following:
15
           1.     I am employed as a data analyst in the above-captioned case.
16
           2.     My relevant background is as follows:
17
                  a.      I am currently a full-time second year J.D. candidate at the George
18
           Washington University Law School in Washington, DC. Last summer, I interned for
19
           Hon. Cathy Bissoon, U.S. District Judge, Western District of Pennsylvania.
20
                  b.      Before law school from 2017 to 2020, I was an Assistant Paralegal in the
21
           Oakland branch office of the Federal Public Defender. My responsibilities there
22
           included analyzing data from the United States Sentencing Commission (“USSC”). I
23
           attended numerous training sessions with experts on both data analysis using USSC
24

25

26   SCHAER DECLARATION                                                                              1
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 1           datafiles, as well as federal sentencing more generally. I was also responsible for

 2           training other Federal Public Defender employees in this work.

 3                  c.      I hold a Bachelor of Arts degree in Computer Science and Sociology from

 4           the University of California, Berkeley. My coursework included classes on statistics and

 5           the statistical programming language R.

 6                  d.      Since 2019, when permissible, I have also performed this same type of

 7           sentencing data analysis to attorneys outside of the Office of the Federal Public Defender

 8           for the Northern District of California.

 9           3.     I have compiled reports from USSC data for dozens of cases in the Northern

10   District of California. My analyses have been either cited or submitted directly via ECF in

11   approximately 20 cases. In addition, I have consulted with defense attorneys for sentencing

12   litigation in approximately 50 additional cases. Further, I have reviewed the following materials

13   from USSC:

14                  a.      “Variable Codebook for Individual Offenders 1997 - 2019” available at:

15           https://www.ussc.gov/sites/default/files/pdf/research-and-

16           publications/datafiles/USSC_Public_Release_Codebook_FY99_FY19.pdf

17                  b.      “Effective Use of Federal Sentencing Data” available at:

18           https://www.ussc.gov/sites/default/files/pdf/research-and-

19           publications/datafiles/20131122-ACS-Presentation.pdf

20           4.     Mr. Rush’s attorney Adam Pennella requested information on sentencing

21   outcomes for defendants situated similarly to Mr. Rush. To answer counsel’s query, I utilized a

22   composite datafile I keep of USSC Datafiles on Individual Offenders for fiscal years 2010 to

23   2019.

24

25

26   SCHAER DECLARATION                                                                                2
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 1                  a.      These files are available on USSC’s website:

 2          https://www.ussc.gov/research/datafiles/commission-datafiles.

 3                  b.      Each datafile was downloaded by either myself or a former colleague at

 4          the Federal Public Defender and expert in data analysis. I confirmed each fiscal year was

 5          successfully processed by checking the composite file against the original USSC

 6          datafiles.

 7                  c.      Each profile discussed below includes nationwide information and filters

 8          for information on the Ninth Circuit (found by setting variable MONCIRC to 9), the

 9          State of California (found by setting variable DISTRICT to 71, 72, 73, or 74) and the

10          Northern District of California (found by setting variable DISTRICT to 71).

11                  d.      Each profile discussed below also excluded any case where USSC

12          indicated the case had incomplete documentation. This was done to increase the overall

13          reliability of my findings.

14          5.      I then conferred with above-captioned counsel to determine an appropriate profile

15   of similarly situated defendants and established an analytical profile for this case. On

16   information and belief, Mr. Rush’s offense level is reduced by two points under 5K2.0(a)(2)(B)

17   (policy statement – unidentified circumstances). In the sentencing data, this Guideline section is

18   not as well-recorded as other sections that Courts apply more frequently.1 I could not identify

19

20   1 Because 5K2.0(a)(2)(B) allows Courts to modify defendants’ offense levels for unidentified
     circumstances, I would be concerned that filtering for this variable could include cases that were
21   too dissimilar to Mr. Rush’s. In addition, while most offense level modifications have their own
     variables (such as for example, the ADJ_XHI variable series for special offense characteristics,
22   ACCTRESP for acceptance of responsibility, or ABUSHI for abuse of trust) 5K2.0(a)(2)(B) is
     recorded in the REASONX variable series as code 703 for “[g]eneral aggravating or mitigating
23   circumstance.” Based on my training and experience analyzing USSC datafiles, the REASONX
     variable series is less reliable than other variables, such as the variables listed above and used in
24   the profiles here.

25

26   SCHAER DECLARATION                                                                                  3
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 1   any cases under 2J1.2 where this reduction was applied. As a result, I only analyzed cases

 2   where the final offense level was 13 instead of 11, even though Mr. Rush’s actual final offense

 3   level is 11.

 4           6.     I established the following profiles:

 5                  a.     Profile 1: Core Profile.

 6                              i. Controlling Guideline 2J1.2.

 7                             ii. Base Offense Level 14.

 8                            iii. Final Offense Level 13.

 9                            iv. Criminal History Category I.

10                  b.     Profile 2: Offense Level Calculations.

11                              i. Profile 1 is incorporated into Profile 2 (Controlling Guideline

12                                 2J1.2, Base Offense Level 14, Final Offense Level 13, Criminal

13                                 History Category I).

14                             ii. Special Offense Characteristic 2J1.2(b)(3)(B) +2 for destroying

15                                 essential or probative records.

16                            iii. Acceptance of Responsibility -3.

17                  c.     Profile 3: Sentenced to Time Served.

18                              i. Profile 1 is incorporated into Profile 3 (Controlling Guideline

19                                 2J1.2, Base Offense Level 14, Final Offense Level 13, Criminal

20                                 History Category I).

21                             ii. I established Profile 3 by filtering for cases where the final

22                                 sentence exactly matched the amount of time the Court credited

23                                 the defendant at sentencing for having already served.

24

25

26   SCHAER DECLARATION                                                                                4
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 1          7.      I created Exhibit E in support of Mr. Rush’s sentencing memorandum. This

 2   exhibit contains the results of my analysis for the profiles detailed above. This exhibit also lists

 3   the USSC data variables I used to complete my analysis.

 4          8.      I found this information with the statistical programming language R. Each

 5   profile includes histogram charts for the nationwide and Ninth Circuit data, generated using the

 6   statistical programming language R and supplemental analytical software packages.

 7          I declare under the penalty of perjury that the foregoing is true and correct, except those

 8   matters based on information and belief and, as to those matters, I believe them to be true.

 9          Executed on this 28th day of December, 2021, in Washington, the District of Columbia.

10
                                                            _______/s/____________
                                                            JORDAN SCHAER
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26   SCHAER DECLARATION                                                                                     5
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                                                         Table of Contents
A.     Chart Key ................................................................................................................................1
B.     Profile 1: Core Analysis ..........................................................................................................2
C.     Profile 2: Offense Level Calculations .....................................................................................6
D.     Profile 3: Sentenced to Time Served ....................................................................................10


A.     Chart Key
    Columns1

           %Prbn.                 Percentage of cases sentenced to probation.

           %[x]yr/mo.             Percentage of cases sentenced to [x] years or months, or less.

           Min.                   Minimum value i.e. sentence or fine. There are no values less than this.

           1st Qu.                1st Quarter, 25th percentile. 25% of items are below this value, and
                                  75% of items are above.

           Med.                   Median, 50th percentile. Half of the items are below this value, and half
                                  are above.

           3rd Qu.                3rd Quarter, 75th percentile. 75% of items are below this value, and
                                  25% of items are

           Max.                   Maximum value i.e. sentence or fine. There are no values higher than
                                  this.

           N.                     Number of items.




1
  Statistics on sentence in months, and evaluations of number of cases are from variables
SENTTOT0 and SENTCAP. USSC switched from using SENTTOT0 to SENTCAP in 2018. The
difference between the two is that previously sentences had no maximum. SENTCAP is capped
at 470 months. To accommodate, I made a custom variable using SENTTOT0 from previous
datafiles, but capped at 470 months.
Statistics on home confinement calculated with variable MOHOMDET. Statistics on home
confinement with other alternatives under USSG §5C1.1 calculated with variable ALTMO.

SOURCE:                         USSC FY 2010 – 2019
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             B.      Profile 1: Core Analysis
                 Cases with:                                                 Variables used:

                    •   Controlling Guideline 2J1.2                                 Þ GDLINEHI = 2J1.2
                    •   Base Offense Level 14                                       Þ BASEHI = 14
                    •   Final Offense Level 13   2
                                                                                    Þ XFOLSOR = 13
                    •   Criminal History I                                          Þ XCHRSSR = 1
                    •   Cases with incomplete documentation                         Þ SOURCES = 1
                        excluded
                    •   Datafiles from 2010 to 2019

                                                          Months in Prison

                                        %6       % 12     % Year
                    %Prbn.     %5 mo.                               Min.      1st Qu.   Med.     Mean     3rd Qu.   Max.     N.
                                        mo.      mo.      and day
Nationwide
                    42.74%     55.36%   64.29%   76.79%   86.61%      0.00       0.00     4.00     5.73    12.00     29.53    124
Ninth Circuit
                    35.00%     47.37%   63.16%   84.21%   89.47%      0.00       0.00     6.00     5.40      8.00    18.00        20
California
                    23.08%     46.15%   53.85%   76.92%   84.62%      0.00       0.00     6.00     6.39    12.00     18.00        13
                                                 100.00   100.00
Nor. Cal.
                     0.00%     60.00%   60.00%        %        %      0.00       2.00     4.00     4.40      8.00     8.00        5




             2
               As discussed, Mr. Rush’s actual final offense level is 11. This adjustment was made because
             the offense level reduction under 5K2.0(a)(2)(B) is not commonly used.

             SOURCE:                    USSC FY 2010 – 2019
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                                                          Home Detention

                                      % 12      % Year                                                                      % of
                 %5 mo.     % 6 mo.                       Min.     1st Qu.   Med.     Mean     3rd Qu.   Max.     N.
                                      mo.       and day                                                                     Total
                                       100.00    100.00
Nationwide
                  35.71%     78.57%         %         %     2.00     5.00      6.00     5.83     6.00     12.00        42    33.87%
                                       100.00    100.00
Ninth Circuit
                   0.00%     60.00%         %         %     6.00     6.00      6.00     6.80     8.00      8.00        5     25.00%
                                       100.00    100.00
California
                   0.00%     50.00%         %         %     6.00     6.00      7.00     7.00     8.00      8.00        4     30.77%
                             100.00    100.00    100.00
Nor. Cal.
                   0.00%          %         %         %     6.00     6.00      6.00     6.00     6.00      6.00        1     20.00%

                          5C1.1 Home Detention, Community Confinement, or Intermittent Confinement

                                      % 12      % Year                                                                      % of
                 %5 mo.     % 6 mo.                       Min.     1st Qu.   Med.     Mean     3rd Qu.   Max.     N.
                                      mo.       and day                                                                     Total
                                       100.00    100.00
Nationwide
                  41.30%     80.43%         %         %     1.00     4.25      6.00     5.80     6.00     12.00        46    37.10%
                                       100.00    100.00
Ninth Circuit
                   0.00%     60.00%         %         %     6.00     6.00      6.00     6.80     8.00      8.00        5     25.00%
                                       100.00    100.00
California
                   0.00%     50.00%         %         %     6.00     6.00      7.00     7.00     8.00      8.00        4     30.77%
                             100.00    100.00    100.00
Nor. Cal.
                   0.00%          %         %         %     6.00     6.00      6.00     6.00     6.00      6.00        1     20.00%




                SOURCE:               USSC FY 2010 – 2019
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SOURCE:            USSC FY 2010 – 2019
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SOURCE:            USSC FY 2010 – 2019
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             C.    Profile 2: Offense Level Calculations
              Cases with:                                                  Variables used:

                  •   Controlling Guideline 2J1.2                                 Þ GDLINEHI = 2J1.2
                  •   Base Offense Level 14                                       Þ BASEHI = 14
                  •   Special Offense Characteristic                              Þ ADJ_DHI = 2
                      2J1.2(b)(3)(B) +2 for destroying essential or
                      probative records
                  •   Acceptance of Responsibility -3                             Þ ACCTRESP = -3
                  •   Final Offense Level 13                                      Þ XFOLSOR = 13
                  •   Criminal History I                                          Þ XCHRSSR = 1
                  •   Cases with incomplete documentation                         Þ SOURCES = 1
                      excluded
                  •   Datafiles from 2010 to 2019

                                                        Months in Prison

                                     %6       % 12      % Year
                  %Prbn.    %5 mo.                                Min.      1st Qu.   Med.     Mean     3rd Qu.   Max.     N.
                                     mo.      mo.       and day

Nationwide        50.77%    64.81%   75.93%    88.89%   96.30%      0.00       0.00     0.20     3.98      6.00    24.00        65

Ninth Circuit     27.27%    50.00%   60.00%    90.00%   90.00%      0.00       0.50     5.00     5.35      7.88    18.00        11

California        25.00%    62.50%   62.50%    87.50%   87.50%      0.00       0.00     3.00     5.00      8.00    18.00        8
                                               100.00    100.00
Nor. Cal.          0.00%    60.00%   60.00%         %         %     0.00       2.00     4.00     4.40      8.00     8.00        5




             SOURCE:                 USSC FY 2010 – 2019
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                                                          Home Detention

                                      % 12      % Year                                                                      % of
                 %5 mo.     % 6 mo.                       Min.     1st Qu.   Med.     Mean     3rd Qu.   Max.     N.
                                      mo.       and day                                                                     Total

Nationwide        38.46%     76.92%   100.00%   100.00%     2.00      4.00     6.00     5.69      6.00    12.00        26     40.00%

Ninth Circuit      0.00%     33.33%   100.00%   100.00%     6.00      7.00     8.00     7.33      8.00     8.00        3      27.27%

California         0.00%     33.33%   100.00%   100.00%     6.00      7.00     8.00     7.33      8.00     8.00        3      37.50%

Nor. Cal.          0.00%    100.00%   100.00%   100.00%     6.00      6.00     6.00     6.00      6.00     6.00        1      20.00%


                          5C1.1 Home Detention, Community Confinement, or Intermittent Confinement

                                      % 12      % Year                                                                      % of
                 %5 mo.     % 6 mo.                       Min.     1st Qu.   Med.     Mean     3rd Qu.   Max.     N.
                                      mo.       and day                                                                     Total

Nationwide        42.86%     78.57%   100.00%   100.00%     2.00      4.00     6.00     6.00      8.00    12.00        28     43.08%

Ninth Circuit      0.00%     33.33%   100.00%   100.00%     6.00      7.00     8.00     7.33      8.00     8.00        3      27.27%

California         0.00%     33.33%   100.00%   100.00%     6.00      7.00     8.00     7.33      8.00     8.00        3      37.50%

Nor. Cal.          0.00%    100.00%   100.00%   100.00%     6.00      6.00     6.00     6.00      6.00     6.00        1      20.00%




                SOURCE:               USSC FY 2010 – 2019
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             D.    Profile 3: Sentenced to Time Served
              Cases with:                                                      Variables used:

                  •   Controlling Guideline 2J1.2                                     Þ GDLINEHI = 2J1.2
                  •   Base Offense Level 14                                           Þ BASEHI = 14
                  •   Final Offense Level 13                                          Þ XFOLSOR = 13
                  •   Criminal History I                                              Þ XCHRSSR = 1
                  •   Sentenced to time served                                        Þ TIMSERVC =
                                                                                        SENTTOT0_CAP
                  •   Cases with incomplete documentation                             Þ SOURCES = 1
                      excluded
                  •   Datafiles from 2010 to 2019

                                                          Months in Prison

                                     %6        % 12       % Year
                  %Prbn.    %5 mo.                                  Min.        1st Qu.   Med.       Mean       3rd Qu.   Max.       N.
                                     mo.       mo.        and day

Nationwide        83.72%    90.70%   90.70%    97.67%     97.67%      0.00         0.00     0.00       1.38        0.00    29.53          43
                                               100.00      100.00
Ninth Circuit     83.33%    83.33%   83.33%         %           %     0.00         0.00     0.00       1.25        0.00     7.52          6
                  100.00    100.00   100.00    100.00      100.00
California             %         %        %         %           %     0.00         0.00     0.00       0.00        0.00     0.00          2

Nor. Cal.              -         -         -          -         -          -          -          -          -         -          -        0




             SOURCE:                 USSC FY 2010 – 2019
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                                                                 Home Detention

                                        % 12       % Year                                                                                  % of
                 %5 mo.       % 6 mo.                            Min.       1st Qu.   Med.       Mean       3rd Qu.   Max.       N.
                                        mo.        and day                                                                                 Total

Nationwide        21.43%       71.43%   100.00%    100.00%         2.00        6.00     6.00       5.86        7.50     8.00          14     32.56%

Ninth Circuit      0.00%        0.00%   100.00%    100.00%         8.00        8.00     8.00       8.00        8.00     8.00          2      33.33%

California         0.00%        0.00%   100.00%    100.00%         8.00        8.00     8.00       8.00        8.00     8.00          2     100.00%

Nor. Cal.                 -         -          -             -          -         -          -          -         -          -        0            -


                          5C1.1 Home Detention, Community Confinement, or Intermittent Confinement

                                        % 12       % Year                                                                                  % of
                 %5 mo.       % 6 mo.                            Min.       1st Qu.   Med.       Mean       3rd Qu.   Max.       N.
                                        mo.        and day                                                                                 Total

Nationwide        38.89%       77.78%   100.00%    100.00%         1.00        3.75     6.00       5.78        8.00    12.00          18     41.86%

Ninth Circuit      0.00%        0.00%   100.00%    100.00%         8.00        8.00     8.00       8.00        8.00     8.00          2      33.33%

California         0.00%        0.00%   100.00%    100.00%         8.00        8.00     8.00       8.00        8.00     8.00          2     100.00%

Nor. Cal.                 -         -          -             -          -         -          -          -         -          -        0            -




                SOURCE:                 USSC FY 2010 – 2019
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